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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


    JANNIE HARRIS,

                          Plaintiff,
                                                         No. 24 CV 957
           v.
                                                         Judge Manish S. Shah
    COOK COUNTY,

                          Defendant.

                                           ORDER

        Defendant’s motion to dismiss, [12], is denied. Defendant shall answer the
amended complaint by December 9, 2024. By December 12, 2024, the parties shall
file a joint status report with a proposed case schedule.

                                         STATEMENT

        Plaintiff Jannie Harris worked as a registered nurse for defendant Cook
County’s Stroger Hospital. [11] ¶ 2. 1 In the fall of 2021, the Cook County Hospital
System instituted a mandatory COVID-19 vaccination policy for employees. Id. ¶¶ 6,
9. The policy required employees to be immunized against COVID-19 unless they
qualified for an exemption. Id. ¶ 9; [12-1] (notice of mandatory COVID-19 vaccination
for personnel). 2 Employees could seek an exemption or deferral from vaccination
requirements “based on a disability, medical condition, or sincerely held religious
belief, practice, or observance.” [12-1] at 2.

      Harris refused vaccination based on her religious beliefs. [11] ¶ 12. She filled
out an accommodation form that asked for a one-line “description of religious doctrine
or practice that is contrary to vaccinations.” Id. ¶ 13. She stated that “she was a
parishioner of the Hope Community Advent Christian Church, an Advent Church in

1 Bracketed numbers refer to entries on the district court docket. Referenced page numbers
are taken from the CM/ECF header placed at the top of filings. The facts are taken from
plaintiff’s amended complaint, [11].
2 Defendant’s COVID-19 vaccination policy is referenced in plaintiff’s complaint and central
to her claim. Plaintiff does not dispute its accuracy. I take judicial notice of the policy. See
Geinosky v. City of Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012).
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Chicago.” Id. ¶ 12. She cited Corinthians 7:1, which states, “since we have these
promises, beloved, let us cleanse ourselves from every defilement of body and spirit,
being holiness to competition in the fear of God.” Id.

       Cook County granted Harris an accommodation, which she alleges was an
accommodation in name only. [11] ¶ 14. Harris had to find and apply for a
telecommuting position. Id. Once she applied, she was placed in an applicant pool
that included those who were not seeking an accommodation. Id. She was given 90
days of unpaid leave to find a position. Id. ¶ 15. Harris was not approved for any
telecommuting position, and she alleges that no such positions were available for her.
Id. ¶ 16.

       Harris’s accommodation period ended in December 2021, and she was
terminated soon after. [11] ¶ 19. Harris alleges that she was otherwise meeting all of
defendant’s work requirements, including following hospital precautions for COVID-
19 mitigation. Id. ¶¶ 7–8, 20. She says that Cook County offered accommodations to
employees who were not vaccinated but sought accommodations based on non-
religious factors. Id. ¶ 17. Harris brings this suit against Cook County alleging
religious discrimination under Title VII, 42 U.S.C. § 2000e. Id. ¶¶ 18, 22.

       A complaint must contain “a short and plain statement” showing that the
plaintiff is entitled to relief. Fed. R. Civ. P. 8(a)(2); Ashcroft v. Iqbal, 556 U.S. 662,
677–78 (2009). To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must allege
facts that “raise a right to relief above the speculative level.” Twombly, 550 U.S. at
555 (citation omitted). At this stage, I accept all factual allegations in the complaint
as true and draw all reasonable inferences in the plaintiff’s favor, disregarding legal
conclusions or “[t]hreadbare recitals” supported by only “conclusory statements.”
Iqbal, 556 U.S. at 678.

       Title VII prohibits an employer from discriminating on the basis of religion. 42
U.S.C. § 2000e-2(a)(1). Religion encompasses “all aspects of religious observance and
practice, as well as belief, unless an employer demonstrates that he is unable to
reasonably accommodate to [sic] an employee’s or prospective employee’s religious
observance or practice without undue hardship on the conduct of the employer’s
business.” Id. § 2000e(j). The statutory definition is a “blend” of a substantive
definition, an employer’s implied duty to accommodate an employee’s religious belief
and practices, and an affirmative defense for failure-to-accommodate claims if
accommodation imposes an undue hardship on the employer. Adeyeye v. Heartland
Sweeteners, LLC, 721 F.3d 444, 448 (7th Cir. 2013).

       To state a failure-to-accommodate claim, Harris must allege that “(1) the
observance, practice, or belief conflicting with an employment requirement is
religious in nature; (2) the employee called the religious observance, practice, or belief
to the employer’s attention; and (3) the religious observance, practice, or belief was
the basis for the employee’s discriminatory treatment.” Passarella v. Aspirus, Inc.,

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108 F.4th 1005, 1009 (7th Cir. 2024). The statutory definition of religion is expansive,
and an employee’s religious objection to a work requirement may include both
religious and secular reasons. Id. At the pleading stage, Harris need only plausibly
allege that some aspect of her request was based on her religious observance and
practice or belief. Id.

       In Passarella, the court of appeals held that one plaintiff’s articulation of her
objection to the COVID vaccination was plausibly religious in nature because she
“expressly stated her Christian belief that the body is a ‘temple of the Holy Spirit’ in
tandem with concerns about the potentially harmful effects of the vaccine.” 108 F.4th
at 1009. Cook County argues that Harris’s exemption request falls short of the
requests in Passarella because Harris does not explain what her beliefs entail as a
member of the Hope Community Advent Christian Church, whether the church
endorses a specific religious tenet prohibiting vaccination, or how the scripture
passage she quotes is connected to her objection to the vaccine. [14] at 2–4.

       Although the plaintiffs in Passarella said more about the connection between
their religious beliefs and the vaccine than just citing a religious text, Harris’s request
nevertheless suffices. An accommodation request survives a motion to dismiss if it
“can be read on its face as plausibly based in part on an aspect of the plaintiff-
employee’s religious belief or practice.” Passarella, 108 F.4th at 1011. Title VII does
not require a plaintiff to “explain in [] depth how any particular tenet or principle of
her religion prohibited vaccination.” Id. at 1012. It is enough that the facts alleged
support an inference that her refusal to be vaccinated was an aspect of her religious
belief or practice. Id. Here, Harris has met that standard by stating her religion
(Christianity) and the religious principle (the scripture verse) that forms the basis for
her objection to the vaccine. 3 The reference to the scripture is enough to connect the
dots of her religion and vaccine objection even if she did not explicitly state that she
believed a vaccine is a “defilement of body and spirit.” [11] ¶ 12. That much is
reasonable to infer from her request. For now, that is enough to survive dismissal.

       Cook County argues Harris has not plausibly alleged that there was an in-
person accommodation available to her and that any in-person position would have
constituted an undue hardship on defendant. [14] at 6–7. Undue hardship is an
affirmative defense that a plaintiff need not anticipate in her complaint, Benson v.




3 Harris includes additional detail in her response brief explaining that her citation to
Corinthians 7:1 was expressing a concern that COVID vaccines “were a form of defilement of
the body.” [13] at 2. A plaintiff may not amend her complaint through a response brief, Pirelli
Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 448 (7th Cir.
2011), but in this case her brief adds explanation that is not necessary to resolve the issue of
whether her exemption request was sufficient.

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Fannie May Confections Brands, Inc., 944 F.3d 639, 645 (7th Cir. 2019), and this is
not a case where Harris has pleaded herself out of court.

      Defendant’s motion to dismiss, [12], is denied.



ENTER:


Date: November 18, 2024
                                             Manish S. Shah
                                             U.S. District Judge




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